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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



 NANCY GIMENA HUISHA-HUISHA, on
 behalf of herself and others similarly situated,

                     Plaintiffs,

         v.                                                        Civ. A. No. 21-100 (EGS)

 ALEJANDRO MAYORKAS, Secretary of
 Homeland Security, et al.,

                     Defendants.



               _______ Final Judgment Under Rule 54(b) and Stay of Proceedings
              [Proposed]

        Upon consideration of Defendants’ Unopposed Motion for Entry of Partial Final Judgment

(“Motion”), it is hereby ORDERED that the Motion is GRANTED. Accordingly, it is

        ORDERED that, for the reasons identified in the Motion and the Court’s November 15, 2022

memorandum opinion and order, ECF Nos. 164, 165, the Court “expressly determines that there is

no just reason for delay” to enter partial final judgment. Fed. R. Civ. P. 54(b). It is further

        ORDERED that final judgment as to Count Six of Plaintiffs’ Second Amended Complaint,

ECF No. 131 ¶¶ 107–11, is ENTERED in favor of Plaintiffs and against Defendants pursuant to

Federal Rule of Civil Procedure 54(b) on the grounds set forth in the Court’s memorandum opinion

and order, ECF Nos. 165, 165.

        Proceedings before this Court on Plaintiffs’ remaining claims are STAYED pending further

order of this Court. The parties shall submit a joint status report informing the Court how they wish

to proceed 60 days from today.
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                                 HON. EMMET G. SULLIVAN
                                 U.S. DISTRICT JUDGE
                                       11/22/2022
                                 Date: ______________________________
